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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1.     KAREN LYNN MCCLAFLIN,

       Defendant.


                           GOVERNMENT’S MOTION TO RESTRICT


       The United States of America, by and through the undersigned Assistant United

States Attorney for the District of Colorado, respectfully moves to restrict the brief filed in

support of this motion, and the Government’s Report Regarding the Bureau of Prison’s

Ability to Care for the Defendant’s Medical Issues [Doc. 68], for the reasons stated in the

brief filed in support of this motion. The United States requests a “Level 2" Restriction

which would make the attachments and the brief filed in support of this motion, “viewable

by selected parties & Court” only.

       Respectfully submitted this 31st day of October, 2018.

                                                   JASON R. DUNN
                                                   United States Attorney


                                                   By:s/Pegeen D. Rhyne
                                                   PEGEEN D. RHYNE
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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 31, 2018, I electronically filed the foregoing
MOTION TO RESTRICT with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to counsel of record.


                                              s/ Dee Boucher
                                              United States Attorney’s Office




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